Case 2:07-cr-20327-AJT-MKM ECF No. 59 ‘filed 04/03/18 PagelD.307 Page 1 of 27

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

UNITED STATES OF AMERICA,
Criminal Case No. 07-20327

Vv. Honorable Arthur J. Tarnow

D-5 MOHAMMAD BAZZI,

Defendant.

 

Motion of the United States to Dismiss
Indictment Against Defendant Mohammad Bazzi

The United States of America, by and through the undersigned attorneys,
moves this Court pursuant to Rule 48(a) of the Federal Rules of Criminal
Procedure for entry of an Order dismissing the Indictment in this matter as to
defendant D-5 Mohammad Bazzi. In support of this motion, the government
submits the following: |

On October 2, 2007, a grand jury in this district returned an indictment
charging defendant Mohammad Bazzi with one count of conspiracy to defraud the

United States.
Case 2:07-cr-20327-AJT-MKM ECF No. 59 filed 04/03/18 PagelD.308 Page 2 of 2

Upon information and belief, it appears that defendant Bazzi departed the
United States in or before 2007 and that he has not returned to the United States
since that time.

The United States Attorney has determined that the ends of justice will no
longer be served by pursuing this matter through trial.

Therefore, to preserve the resources of this Court and the parties, the United
States Attorney now moves for leave of Court to dismiss the Indictment as to
defendant D-5 Mohammad Bazzi, to cancel his arrest warrant, and to terminate this

proceeding with respect to defendant Mohammad Bazzi.

 

Respectfully submitted:
MATTHEW S IDER Y/3/1f

United Sta ttorney
Gy | ——

BRUCE C. JUDGE —

Assistant United States Attorney
211 W. Fort Street, Suite 2001
Detroit, Michigan 48226
Bruce.Judge@usdoj.gov
313-226-9122

 
